     Case 4:05-cr-00305-SWW   Document 411   Filed 03/30/06   Page 1 of 5



                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                No. 4:05CR00305 SWW

SHAWN LUEPKES

                    PRELIMINARY ORDER OF FORFEITURE
                         Fed.R.Crim.P. 32.2(b)


     IT IS HEREBY ORDERED THAT:

     1.   As the result of the guilty plea to Count One of the

Information, and a stipulation of the defendant in which he

agreed to the forfeiture the Government sought pursuant to Title

21 U.S.C. § 853, defendant shall forfeit to the United States all

property used or intended to be used in any manner or part to

commit the commission of offenses involving Title 21 U.S.C. §§

841 and 846.

     2.   The Court has determined, based on the defendant’s

stipulation and the evidence already in the record, that the

following property is subject to forfeiture pursuant to Title 21

U.S.C. § 853, and that the government has established the

requisite nexus between such property and such offenses:

U. S. CURRENCY:

     A.    Approximately $4,226.00 seized on March 18, 2004, from
           Jason Christopher Calicott, a/k/a Kool Aid, and Lewis
           Austin Graham, and Shawn M. King, in Little Rock,
           Arkansas;
     B.    Approximately $1,240.00 seized on April 4, 2005 from
           Paul Lee Oglesby in Maumelle, Arkansas;
    Case 4:05-cr-00305-SWW   Document 411   Filed 03/30/06   Page 2 of 5



     C.   Approximately $4,185.00 seized on April 8, 2005 from
          Jason Christopher Calicott,a/k/a Kool Aid, and in
          Little Rock, Arkansas;

FIREARMS AND AMMUNITION:

     A.   one Taurus 38 Special, .38 caliber revolver and
          ammunition, serial number VH38274, seized on March 18,
          2004 from Jason Christopher Calicott, a/k/a Kool Aid,
          and Louis Austin Graham, and Shawn M. King in Little
          Rock, Arkansas;
     B.   one Baretta 9mm Model 92FS, serial number BER297442,
          seized on March 18, 2004 from Jason Christopher
          Calicott, a/k/a Kool Aid, Louis Austin Graham, and
          Shawn M. King in Little Rock, Arkansas;
     C.   one Rock Island Armory .45 caliber firearm, serial
          number RIA914209, seized on March 18, 2004 from Jason
          Christopher Calicott, a/k/a Kool Aid, Louis Austin
          Graham, and Shawn M. King in Little Rock, Arkansas;
     D.   one Remington 870 Express 12 gauge shotgun, serial
          number D603902M, seized on March 18, 2004 from Jason
          Christopher Calicott, a/k/a Kool Aid, Louis Austin
          Graham, and Shawn M. King in Little Rock, Arkansas;
     E.   one Mossberg Maverick 88, 12 gauge shotgun, serial
          number MV59264J, seized on March 18, 2004 from Jason
          Christopher Calicott, a/k/a Kool Aid, Louis Austin
          Graham, and Shawn M. King in Little Rock, Arkansas;
     F.   one Winchester Model 70, 7mm firearm, serial number
          G2255410, seized on March 18, 2004 from Jason
          Christopher Calicott, a/k/a Kool Aid, Louis Austin
          Graham, and Shawn M. King in Little Rock, Arkansas;
     G.   one Glock 40 caliber handgun, serial number DUA407US,
          seized on April 4, 2005, from Paul Lee Oglesby in
          Maumelle, Arkansas;
     H.    one Keltek 40 caliber, serial number 83048, seized on
          April 8, 2005 from Jason Christopher Calicott, a/k/a
          Kool Aid, in Little Rock, Arkansas;
     I.   one Davis Arms .32 caliber pistol with clip, serial
          number 508614, seized on March 18, 2004 from Jason
          Christopher Calicott, a/k/a Kool Aid, Louis Austin
          Graham, and Shawn M. King in Little Rock, Arkansas;
     J.   one Colt .25 caliber pistol, serial number 11045,
          seized on March 18, 2004 from Jason Christopher
          Calicott, a/k/a Kool Aid, Louis Austin Graham, and
          Shawn M. King in Little Rock, Arkansas;


                                   2
    Case 4:05-cr-00305-SWW   Document 411   Filed 03/30/06   Page 3 of 5



     K.    one Bauer .25 caliber pistol with clip, serial number
           025651, seized on March 18, 2004 from Jason Christopher
           Calicott, a/k/a Kool Aid, Louis Austin Graham, and
           Shawn M. King in Little Rock, Arkansas;
     L.    one Raven .25 caliber pistol with clip, serial number
           1816314, seized on March 18, 2004 from Jason
           Christopher Calicott, a/k/a Kool Aid, Louis Austin
           Graham, and Shawn M. King in Little Rock, Arkansas;
     M.    one Rossi rifle/shotgun .22 caliber and .410, serial
           number SP487197, seized on March 18, 2004 from Jason
           Christopher Calicott, a/k/a Kool Aid, Louis Austin
           Graham, and Shawn M. King in Little Rock, Arkansas;
     N.    one Intertec Luger 9mm, Model Tec-DC9, serial number
           D002084, seized on March 18, 2004 from Jason
           Christopher Calicott, a/k/a Kool Aid, Louis Austin
           Graham, and Shawn M. King in Little Rock, Arkansas;
     O.    one Heritage Rough Rider .22 caliber pistol, serial
           number JR27755, seized on August 7, 2005 from Timothy
           Mark Ison in Little Rock, Arkansas;

     3.   Upon the entry of this Order, the United States Attorney

General (or a designee) is authorized to seize the above listed

property and to conduct any discovery proper in identifying,

locating, or disposing of the property subject to forfeiture, in

accordance with Fed.R.Crim.P. 32.2(b)(3).

     4.   Upon entry of this Order, the United States Attorney

General (or a designee) is authorized to commence any applicable

proceeding to comply with statutes governing third party rights,

including giving notice of this Order.

     5.   The United States shall publish notice of the order and

its intent to dispose of the property in such a manner as the

United States Attorney General (or a designee) may direct.             The

United States may also, to the extent practicable, provide



                                   3
    Case 4:05-cr-00305-SWW   Document 411   Filed 03/30/06   Page 4 of 5



written notice to any person known to have an alleged interest in

the Subject Property.

     6.   Any person, other than the above named defendant,

asserting a legal interest in the Subject Property may, within

thirty days of the final publication of notice or receipt of

notice, whichever is earlier, petition the Court for a hearing

without a jury to adjudicate the validity of his alleged interest

in the Subject Property, and for an amendment of the order of

forfeiture, pursuant to Title 21 U.S.C. §853(n)(2).

     7.   Pursuant to Fed.R.Crim.P. 32.2(b)(3), this Preliminary

Order of Forfeiture shall become final as to the defendant at the

time of sentencing and shall be made part of the sentence and

included in the judgment.    If no third party files a timely

claim, this Order shall become the Final Order of Forfeiture, as

provided by Fed.R.Crim.P. 32.2(c)(2).

     8.   Any petition filed by a third party asserting an

interest in the Subject Property shall be signed by the

petitioner under penalty of perjury and shall set forth the

nature and extent of the petitioner’s right, title, or interest

in the Subject Property, the time and circumstances of the

petitioner’s acquisition of the right, title, or interest in the

Subject Property, any additional facts supporting the

petitioner’s claim and the relief sought.




                                   4
    Case 4:05-cr-00305-SWW   Document 411   Filed 03/30/06   Page 5 of 5



     9.    After the disposition of any motion filed under

Fed.R.Crim.P. 32.2(c)(1)(A) and before a hearing on the petition,

discovery may be conducted in accordance with the Federal Rules

of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

     10.     The United States shall have clear title to the Subject

Property following the Court’s disposition of all third-party

interests, or, if none, following the expiration of the period

provided in 21 U.S.C. § 853(n)(2) for the filing of third party

petitions.

     11.     The Court shall retain jurisdiction to enforce this

Order, and to amend it as necessary, pursuant to Fed.R.Crim.P.

32.2(e).



     SO ORDERED this 30th day of March, 2006.

                                       /s/Susan Webber Wright


                                       UNITED STATES DISTRICT JUDGE




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